Case 1:04-cv-10981-PBS Document 1663 Filed 02/12/09 Page 1 of 3

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

 

In re: NEURONTIN MARKETING, SALES
PRACTICES, AND PRODUCTS
LIABILITY LITIGATION

MDL Docket No. 1629

Master File No. 04-10981

 

THIS DOCUMENT RELATES TO: Judge Patti B. Saris

 

Magistrate Judge Leo T. Sorokin
HARDEN MANUFACTURING
CORPORATION; LOUISIANA HEALTH
SERVICE INDEMNITY COMPANY, dba
BLUECROSS/BLUESHIELD OF LOUISIANA;
INTERNATIONAL UNION OF OPERATING
ENGINEERS, LOCAL NO. 68 WELFARE
FUND; ASEA/AFSCME LOCAL 52 HEALTH
BENEFITS TRUST; GERALD SMITH; and
LORRAINE KOPA, on behalf of themselves and
all others similarly situated v. PFIZER INC. and
WARNER-LAMBERT COMPANY,

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DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

In connection with the Court’s consideration of plaintiffs’ second motion for class
certification (Dkt # 1018), defendants respectfully submit copies of the February 9, 2009
Opinion and Order entered in Clark v. Pfizer Inc., June Term 2004, No. 1819 (Phila. Ct. C.P.
Feb. 9, 2009). True and correct copies of the Opinion and Order are attached hereto as Exhibits
A and B, respectively.

The Clark action was brought “on behalf of [two named plaintiffs] and all other similarly
situated purchasers of the drug Neurontin or its generic equivalent, gabapentin, whose
prescriptions were written for off label uses not approved by the FDA.” (Ex. A at 1.) As the

Court may recall, plaintiffs have cited a prior decision in Clark in which Judge Mark I. Bernstein

5056071 v.1
Case 1:04-cv-10981-PBS Document 1663 Filed 02/12/09 Page 2 of 3

certified a class. See Notice of Supplemental Authority in Support of Plaintiffs’ Motion for
Class Certification (Pennsylvania Class Action Certified) (Dkt # 779).
On February 9, Judge Bernstein de-certified the class, explaining:

Since some class members have benefited from the use of Neurontin and
other class members have not benefited, individual questions of fact are
presented making the case unsuitable for class resolution. Individual
questions of fact exist as to each class member to determine whether their
off-label prescription of Neurontin was beneficial. Whether an individual
class member suffered a compensable loss is an inherently individualized
question which predominates making class resolution impracticable and
possibly impossible. The motion for decertification of the class is granted.

(Ex. A at 5.) Defendants respectfully submit that Judge Bernstein’s analysis is directly
applicable to the issues under consideration.

Dated: February 12, 2009
DAVIS POLK & WARDWELL

By: /s/ James P. Rouhandeh
James P. Rouhandeh

 

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505607 1v.1
Case 1:04-cv-10981-PBS Document 1663 Filed 02/12/09 Page 3 of 3

CERTIFICATE OF SERVICE

I hereby certify that this document has been served pursuant to Case Management Order
No. 3.

/s/David B. Chaffin
David B. Chaffin

5056071 v.1
